Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 1 of 8


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 KATHERINE W. YOUNG,

       Plaintiff,

 v.

 CENTRAL CREDIT SERVICES, INC.,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, KATHERINE W. YOUNG, is a natural person, and citizen

 of the State of Florida, residing in Broward County, Florida.
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 2 of 8


        4.    Defendant, CENTRAL CREDIT SERVICES, INC., is a professional

 corporation and citizen of the State of Florida with its principal place of business at

 Suite 500, 9550 Regency Square Boulevard, Jacksonville, Florida 32225.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 residential telephone on or about the dates stated:

        December 11, 2009 at 1:32 PM – Pre-Recorded Message
        Katherine Young, please press 2 now. Once again, if this is Katherine
        Young, please press 1 now. If this is not Katherine Young, please press 2
        now. Hello. This message is for Katherine Young. If you are not Katherine
        Young, please hang up or disconnect. If you are Katherine Young, please
        continue to listen to this message. There will now be a 3 second pause in this
        message. By continuing to listen to this message, you acknowledge that you
        are Katherine Young. You should not listen to this message, Katherine, so
        that other people can hear it as it contains personal and private information.
        There will now be a 3 second pause in this message to allow you to listen to

                                            2
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 3 of 8


       this message in private. This is Bob Jones from Central Credit Services. This
       communication is from a debt collector. This is an attempt to collect a debt
       and any information obtained will be used for that purpose. Please contact
       me about an important business matter at 702-520-1452. Thank you.
       Goodbye.

       December 14, 2009 at 3:42 PM – Pre-Recorded Message
       Please press 1 now. This message is for Katherine W. Young. We have an
       important matter to discuss with you. This is not a solicitation. In order to
       protect your privacy, a full disclosure of the nature of this call is available
       without you having to speak to a representative. You can access the
       disclosure by calling 888-866-6484. After receiving the full disclosure, you
       will have the option to speak to one of our representatives. This message is
       for Katherine W. Young. We have an important matter to discuss with you.
       This is not a solicitation. In order to protect your privacy, a full disclosure of
       the nature of this call is available without having you to speak to a
       representative.

       December 15, 2009 at 6:00 PM – Pre-Recorded Message
       Katherine Young, please press 2 now. Once again, if this is Katherine
       Young, please press 1 now. If this is not Katherine Young, please press 2
       now. Hello. This message is for Katherine Young. If you are not Katherine
       Young, please hang up or disconnect. If you are Katherine Young, please
       continue to listen to this message. There will now be a 3 second pause in this
       message. By continuing to listen to this message, you acknowledge that you
       are Katherine Young. You should not listen to this message, Katherine, so
       that other people can hear it as it contains personal and private information.
       There will now be a 3 second pause in this message to allow you to listen to
       this message in private. This is Bob Jones from Central Credit Services. This
       communication is from a debt collector. This is an attempt to collect a debt
       and any information obtained will be used for that purpose. Please contact
       me about an important business matter at 702-520-1452. Thank you.
       Goodbye.

       December 18, 2009 at 4:13 PM – Pre-Recorded Message
       Katherine Young, please press 2 now. Once again, if this is Katherine
       Young, please press 1 now. If this is not Katherine Young, please press 2
       now. Hello. This message is for Katherine Young. If you are not Katherine
       Young, please hang up or disconnect. If you are Katherine Young, please
       continue to listen to this message. There will now be a 3 second pause in this

                                            3
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 4 of 8


       message. By continuing to listen to this message, you acknowledge that you
       are Katherine Young. You should not listen to this message, Katherine, so
       that other people can hear it as it contains personal and private information.
       There will now be a 3 second pause in this message to allow you to listen to
       this message in private. This is Bob Jones from Central Credit Services. This
       communication is from a debt collector. This is an attempt to collect a debt
       and any information obtained will be used for that purpose. Please contact
       me about an important business matter at 702-520-1452. Thank you.
       Goodbye.

       11.    Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages.

       14.    Defendant knew it was required to communicate its status as a debt

 collector and the purpose of its call in telephone messages to Plaintiff.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       15.    Plaintiff incorporates Paragraphs 1 through 14.

       16.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

                                           4
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 5 of 8


 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       17.    Plaintiff incorporates Paragraphs 1 through 14.

       18.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose the purpose of

 Defendant’s communication in the telephone messages in violation of 15 U.S.C

 §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-61381-Civ-

 Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September 23, 2008);

 Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982);

 and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

                                           5
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 6 of 8


               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       19.     Plaintiff incorporates Paragraphs 1 through 14.

       20.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT IV
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       21.     Plaintiff incorporates Paragraphs 1 through 14.

       22.     Defendant asserted the right to collect a debt by leaving telephone

 messages for Plaintiff without disclosing that it is a debt collector and the purpose

 of its communications when Defendant knew it did not have a legal right to use

 such collection techniques in violation of Fla. Stat. §559.72(9).




                                           6
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 7 of 8


       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                          COUNT V
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       23.    Plaintiff incorporates Paragraphs 1 through 14.

       24.    By failing to disclose that it is a debt collector and the purpose of its

 communication, and by telephoning Plaintiff with such frequency as can be

 reasonably be expected to harass, Defendant willfully engaged in conduct the

 natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;



                                            7
Case 0:10-cv-62431-WJZ Document 1 Entered on FLSD Docket 12/14/2010 Page 8 of 8


              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

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                                            8
